     Case 1:23-cv-00811-EGB Document 18 Filed 07/31/23 Page 1 of 2




        In the United States Court of Federal Claims
                                   No. 23-811C
                              (Filed: July 31, 2023)

******************

LARRY GOLDEN,

                       Plaintiff,

v.

THE UNITED STATES,

                       Defendant.

******************

                                        ORDER

        On May 31, 2023, plaintiff filed the present complaint, which was
then transferred to the undersigned on June 15, 2023. Before defendant could
respond to the complaint, plaintiff filed a motion for summary judgment on
June 20, 2023. Defendant then timely filed a motion to dismiss pursuant to
Rule 12(b)(6) on July 14, 2023, along with a motion to stay briefing of
plaintiff’s motion for summary judgment. On July 24, 2023, plaintiff moved
to strike defendant’s motion to dismiss. In order to streamline the resolution
of this case and to avoid further unnecessary filings, the following is ordered:

         1. Because we view the motion for summary judgment as premature
            and due to the pendency of the motion to dismiss, defendant’s
            motion to stay briefing of plaintiff’s motion for summary
            judgment is granted.

         2. Because plaintiff has not shown an improper purpose or that the
            motion to dismiss was filed in violation of the rules, his motion to
            strike is denied. Plaintiff’s response to the motion to dismiss
            remains due on August 11, 2023.
Case 1:23-cv-00811-EGB Document 18 Filed 07/31/23 Page 2 of 2




                                 s/Eric G. Bruggink
                                 ERIC G. BRUGGINK
                                 Senior Judge
